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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NORTH DAKOTA
                           SOUTHEASTERN DIVISION


UNITED STATES OF AMERICA,                              3:14-CR18-1 (JRT)

                                Plaintiff,
                                               MEMORANDUM OPINION
                                             AND ORDER DENYING MOTION
v.
                                                   FOR NEW TRIAL
MICHAEL ANTWAIN MODISETT,

                             Defendant.


      Brett M. Shasky and Jennifer Klemetsrud Puhl, Assistant United States
      Attorneys, UNITED STATES ATTORNEY’S OFFICE, 655 First
      Avenue North, Suite 250, Fargo, ND 58102, for plaintiff.

      Reid W. Brandborg, BRANDBORG LAW OFFICE, 315 South Mill
      Street, Fergus Falls, MN 56537, for defendant.


      A grand jury indicted Michael Antwain Modisett (“Modisett”) with conspiracy to

possess with intent to distribute and distribute in excess of 1,000 grams a mixture or

substance containing a detectable amount of heroin in violation of 21 U.S.C.

§§ 841(a)(1), 846, and 18 U.S.C. § 2. After the Court granted Modisett’s motion to

withdraw his guilty plea, the case proceeded to trial where a jury convicted Modisett of

the superseding indictment. Modisett submitted a motion for a new trial pursuant to

Rule 33 of the Federal Rules of Criminal Procedure. Because overwhelming evidence

supports Modisett’s conviction, he cannot demonstrate ineffective assistance of counsel.




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In addition, the record does not reflect government misconduct. As a result, the Court

will deny Modisett’s motion for a new trial.


                                       DISCUSSION

I.     STANDARD OF REVIEW

       “Upon the defendant’s motion, the court may vacate any judgment and grant a

new trial if the interest of justice so requires.” Fed. R. Crim. P. 33(a). “The district court

has broad, but limited, discretion to grant or deny a motion for a new trial based on the

sufficiency of the evidence, and it can weigh the evidence, disbelieve witnesses, and

grant a new trial even where there is substantial evidence to sustain the verdict.” United

States v. Vega, 676 F.3d 708, 722 (8th Cir. 2012) (quoting United States v. Aguilera, 623

F.3d 482, 486 (8th Cir. 2010)). But a motion for a new trial should be granted “sparingly

and with caution” and “only if the evidence weighs so heavily against the verdict that a

miscarriage of justice may have occurred.” United States v. McClellon, 578 F.3d 846,

857 (8th Cir. 2009).


II.    INEFFECTIVE ASSISTANCE OF COUNSEL

       Modisett argues the record requires a new trial because Modisett’s trial attorney

failed to provide effective assistance of counsel. In particular, Modisett asserts his trial

attorney failed to subpoena a defense witness and introduce evidence that probationary

restrictions prevented Modisett from committing the crime to the extent alleged. But to

prove ineffective assistance of counsel, Modisett must show more than that his trial

attorney’s representation fell below the standards guaranteed by the Sixth Amendment.


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Strickland v. Washington, 466 U.S. 668, 687-92 (1984). Modisett must also show trial

counsel’s errors prejudiced Modisett.      Id.    Prejudice exists only where there “is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Id. at 694.

       The Court finds it unnecessary to discuss the reasonableness of Modisett’s trial

counsel’s conduct because, given the overwhelming evidence of Modisett’s guilt, it

would be impossible for Modisett to demonstrate prejudice under Strickland.

Christenson v. Ault, 598 F.3d 990, 997 (8th Cir. 2010) (“When there is overwhelming

evidence of guilt presented, it may be impossible to demonstrate prejudice.”); Reed v.

Norris, 195 F.3d 1004, 1006 (8th Cir. 1999) (“We find it unnecessary to discuss the

reasonableness of counsel’s conduct because, given the overwhelming evidence of

Reed’s guilt presented at trial, we find that it would be impossible for him to demonstrate

prejudice under Strickland.”). At trial, the government presented numerous witnesses

and other evidence tying Modisett to the conspiracy to distribute heroin. Thus, even in

the absence of the alleged attorney errors, the jury would have reached the same result.

The Court will, therefore, deny Modisett’s motion for a new trial on this ground.


III.   GOVERNMENT MISCONDUCT

       Modisett also argues the record requires a new trial because of government

misconduct. Citing Webb v. Texas, 409 U.S. 95 (1972) (per curiam), Modisett argues the

prosecutor’s warning to a potential witness that “you’re going to get in trouble . . . [if]

you get on that stand and . . . lie . . . I can contradict it, I can provide it and then I can



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charge you” constituted a personal threat against the potential witness that deprived

Modisett of a fair trial. (See Def.’s Mem. in Supp. of Mot. for New Trial at 21, Nov. 10,

2016, Docket No. 351-1.)

       “It is not improper per se for a . . . prosecuting attorney to advise prospective

witnesses of the penalties for testifying falsely.” United States v. Risken, 788 F.2d 1361,

1370 (8th Cir. 1986) (quoting United States v. Blackwell, 694 F.2d 1325, 1334 (D.C. Cir.

1982)). Instead, “warnings concerning the dangers of perjury” only rise to the level of

depriving a defendant of a fair trial “where they threaten and intimidate the witness into

refusing to testify.” Id. (quoting Blackwell, 694 F.2d at 1334). Here, in contrast to Webb,

the prosecutor’s comments constituted a “constitutionally permissible ‘mere warning’

about the dangers of committing perjury” and did not rise to the level of threatening or

intimidating a witness into refusing to testify. See id. The Court will, therefore, also

deny Modisett’s motion for a new trial on this ground.


                                        ORDER

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Modisett’s Motion for a New Trial [Docket No. 351] is

DENIED.


DATED: January 5, 2017                    ___________                     __________
at Minneapolis, Minnesota.                           JOHN R. TUNHEIM
                                                         Chief Judge
                                                  United States District Court




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